            Case 19-00767              Doc 2         Filed 06/19/19 Entered 06/19/19 10:14:21                                   Desc Stamped
                                                          Summons Page 1 of 1

                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

             In re:
             Bankruptcy Case No. 14−11071
             ISAGANI A RABINO AND JENNIFER MACAYRA−RABINO
                                                                                                              Debtor
             Adversary Proceeding No. 19−00767
             ISAGANI A RABINO
             JENNIFER MACAYRA−RABINO
                                                                                                              Plaintiff
             v.
             PNC BANK
                                                                                                              Defendant
                                                            SUMMONS IN AN ADVERSARY PROCEEDING

             To: PNC BANK
             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.
             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604
            At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Joseph S Davidson
                                                        2500 S. Highland Ave
                                                        Suite 200
                                                        Lombard, IL 60148
            If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

            YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Kane Courthouse
                                                        100 S 3rd Street                                Status Hearing Date and Time
                                                        Courtroom 240                                   07/19/2019 at 09:30AM
                                                        Geneva IL 60134
            IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
            JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
            RELIEF DEMANDED IN THE COMPLAINT.




                  Date Issued


                  06 / 19 / 2019

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



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